     Case 3:19-cv-01124-MPS Document 152 Filed 05/29/20 Page 1 of 7




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT
__________________________________________
                                           )
McCARTER & ENGLISH, LLP                    )
                  Plaintiff,               )   CIVIL ACTION CASE NO.
                                           )   3:19-CV-01124 (MPS)
      VS.                                  )
                                           )
JARROW FORMULAS, INC.                      )
                  Defendant.               )
__________________________________________)    MAY 29, 2020

                  STIPULATED AGREEMENT FOR DISSOLUTION
           OF GARNISHMENT AND SUBSTITUTION OF CASH COLLATERAL

       To: the Honorable Michael Shea, Judge of the United States District Court for the District of

Connecticut.

       A Prejudgment Remedy Application by McCarter & English, LLC in the United States

District Court for the District of Connecticut was granted in the amount of $1,850,000 by Judge

Merriam on or about March 3, 2020 against the defendant Jarrow Formulas, Inc. The Plaintiff has

secured a garnishment of funds due Jarrow Formulas, Inc. from Amazon.com Services, LLC, by

Scott M. Kraimer, Connecticut State Marshal in the amount of $1,850,000. A writ of Garnishment

was also served on U.S. Bank National Association though no funds from that garnishee were

secured. The parties hereby stipulate and agree that that said garnishments may be dissolved upon

the substitution of cash collateral in the amount of the prejudgment remedy, according to the statute,

C.G.S. § 52-304. The Defendant has remitted the sum of $1,850,000.00, the amount of the

prejudgment remedy order, to Stewart Title Guaranty Company which sum is being held by Stewart

Title Guaranty Company as Escrow Agent. The Escrow Agreement shall become immediately

effective upon this Court’s granting of this Motion. A true and correct copy of the Escrow
     Case 3:19-cv-01124-MPS Document 152 Filed 05/29/20 Page 2 of 7




Agreement signed by all parties hereto as well as the Escrow Agent is appended as Exhibit A. The

parties further agree that they waive the right to any hearing on this Motion.



Dated at Waterbury, CT this 29th day of May, 2020.

                                                     THE DEFENDANT,
                                                     JARROW FORMULAS, INC.

                                                  By: /s/ ct00765
                                                     Jeffrey J. Tinley, Esq.
                                                     Tinley, Renehan & Dost, LLP
                                                     255 Bank Street ~ Suite 2-A
                                                     Waterbury, CT 06702
                                                     (203) 596-9030 (p) / (203) 596-9036 (f)
                                                     Federal Bar No.: ct00765
                                                     E-Mail: jtinley@tnrdlaw.com

Dated at Hartford, CT this 29th day of May, 2020.

                                                     THE PLAINTIFF:
                                                     McCARTER & ENGLISH, LLP



                                                  By: /s/ Louis R. Pepe (ct04319)
                                                      Louis R. Pepe
                                                      Federal Bar No. CT04319
                                                      McElroy, Deutsch, Mulvaney
                                                             & Carpenter LLP
                                                      One State Street, 14th Floor
                                                      Hartford, CT 06103
                                                      Phone: 860-522-5175
                                                      Fax: 860-522-2796
                                                      Email: lpepe@mdmc-law.com
                                                      Its Attorneys
     Case 3:19-cv-01124-MPS Document 152 Filed 05/29/20 Page 3 of 7




                                          CERTIFICATION

         I hereby certify that on May 29th, 2020 a copy of the foregoing Application for Dissolution
was filed electronically and served by mail on anyone unable to accept electronic filing. Notice of
this filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.
Parties may access this filing through the court’s CM/ECF system.

Marshal Scott M. Kraimer
P.O. Box 271621
West Hartford, CT 06127-1621




                                               By:      /s/ ct00765
                                                       Jeffrey J. Tinley, Esq.
                                                       Tinley, Renehan & Dost, LLP
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     Case 3:19-cv-01124-MPS Document 152 Filed 05/29/20 Page 4 of 7




                          UNITED STATES DISTRICT COURT
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                                           )   3:19-CV-01124 (MPS)
      VS.                                  )
                                           )
JARROW FORMULAS, INC.                      )
                  Defendant.               )
__________________________________________)    MAY ___, 2020

                        ORDER OF DISSOLUTION OF GARNISHMENT

       Upon the foregoing Stipulated Agreement to Dissolve Garnishment and Substitution of Cash

Collateral, the writ of garnishment dated April 13, 2020 and signed April 16, 2020 directed to

Amazon.com Services, LLC, a true and correct copy of which is attached hereto as Exhibit A, which

writ was served by Connecticut State Marshal Scott M. Kraimer, and the garnishment itself is hereby

dissolved and the garnishee, Amazon.com Services, LLC is hereby ordered to release any funds so

garnished to Jarrow Formulas, Inc. upon receipt of this order. Jarrow Formulas, Inc. has deposited

with Stewart Title Guaranty Company the sum of $1,850,000 in accordance with the Stipulated

Agreement for Dissolution of Garnishment and Substitution of Cash Collateral.


Dated at Hartford, CT this ____ day of May, 2020.

                                                    The Court



                                                    __________________________
     Case 3:19-cv-01124-MPS Document 152 Filed 05/29/20 Page 5 of 7




                                          CERTIFICATION

        I hereby certify that on May ___, 2020 a copy of the foregoing Order for Dissolution was
filed electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or by
mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.
Parties may access this filing through the court’s CM/ECF system.

Marshal Scott M. Kraimer
P.O. Box 271621
West Hartford, CT 06127-1621
                                               By:      /s/ ct00765
                                                       Jeffrey J. Tinley, Esq.
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     Case 3:19-cv-01124-MPS Document 152 Filed 05/29/20 Page 6 of 7




                          UNITED STATES DISTRICT COURT
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                                           )   3:19-CV-01124 (MPS)
      VS.                                  )
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JARROW FORMULAS, INC.                      )
                  Defendant.               )
__________________________________________)    MAY ___, 2020

                        ORDER OF DISSOLUTION OF GARNISHMENT

       Upon the foregoing Stipulated Agreement to Dissolve Garnishment and Substitution of Cash

Collateral, the writ of garnishment dated April 13, 2020 and signed April 16, 2020 directed to U.S.

Bank National Association, a true and correct copy of which is attached hereto as Exhibit A, which

writ was served by Connecticut State Marshal Scott M. Kraimer, and the garnishment itself is hereby

dissolved and the garnishee, U.S. Bank National Association, is hereby ordered to release any funds

so garnished to Jarrow Formulas, Inc. upon receipt of this order. Jarrow Formulas, Inc. has

deposited with Stewart Title Guaranty Company the sum of $1,850,000 in accordance with the

Stipulated Agreement for Dissolution of Garnishment and Substitution of Cash Collateral.


Dated at Hartford, CT this ____ day of May, 2020.

                                                    The Court



                                                    __________________________
     Case 3:19-cv-01124-MPS Document 152 Filed 05/29/20 Page 7 of 7




                                          CERTIFICATION

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